                                                                                 ORDERED ACCORDINGLY.


                                                                                  Dated: March 6, 2018

   1

   2

   3                                                                             George B. Nielsen, Bankruptcy Judge
                                                                                 _________________________________
   4

   5

   6

   7

   8                                   UNITED STATES BANKRUPTCY COURT

   9                                               DISTRICT OF ARIZONA

  10       In re:                                                     CHAPTER 11

  11       JESSIE PAUL OGLE,                                          Case No. 2:14-bk-11428-GBN

  12                         Debtor.                                  ORDER CONFIRMING DEBTOR’S
                                                                      SECOND AMENDED
  13                                                                  PLAN OF REORGANIZATION
                                                                      DATED MAY 16, 2017
  14

  15                Upon consideration of the Debtor’s Second Amended Plan of Reorganization Dated May
  16   16, 2017 [ECF No. 226] (“Plan”);1 the First Amended Disclosure Statement Dated May 16,
  17   2017 [ECF No. 227] (“Disclosure Statement”); the Debtor’s Ballot Report [ECF No. 293]
  18   (“Ballot Report”); the Declaration of Jessie Paul Ogle in Support of Debtor’s Second Amended
  19   Plan of Reorganization Dated May 16, 2017 [ECF No. 298]; the statements of counsel at the
  20   hearing on December 13, 2017 regarding confirmation of the Plan (“Confirmation Hearing”);
  21   the entire record in this case; and good cause appearing, the Court finds as follows:
  22                1.     On July 24, 2014 (“Petition Date”), the Debtor filed a voluntary petition for
  23   relief under Chapter 11 of the Bankruptcy Code.
  24                2.     On June 30, 2017, the Court entered the Order approving the Disclosure
  25   Statement [ECF No. 248] (“Disclosure Statement Order”) which set a hearing on confirmation
  26   of the Plan.
  27

  28   1
           Except as otherwise noted herein, capitalized terms shall retain the meanings attributed to them in the Plan.

       {00079039 2}
Case 2:14-bk-11428-GBN               Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                             Desc
                                      Main Document    Page 1 of 22
   1          3.      The Disclosure Statement Order, Disclosure Statement, Plan, and ballots were

   2   properly noticed to all Creditors and interested parties as required by Fed. R. Bankr. P. 2002.

   3          4.      The Plan was properly submitted to creditors for voting.

   4          5.      On November 30, 2016, the Internal Revenue Service (“IRS”) filed an Objection

   5   to a prior plan [ECF No. 179] and informally reserved its rights thereafter in connection with the

   6   Plan (“IRS Objection”).

   7          6.      On June 6, 2017, Ditech Financial, LLC (“Ditech”) filed Objections to the Plan

   8   [ECF Nos. 238 and 239] (“Ditech Objections”).

   9          7.      On June 20, 2017, CT Asset Management, LLC and Veronica Milton filed an

  10   objection to the Plan [ECF No. 241] and later withdrew the same [ECF No. 288].

  11          8.      The United States Trustee (“UST”) informally objected to the Plan.

  12          9.      To resolve the IRS Objection, the Ditech Objections, and the concerns of the

  13   UST, the Debtor and such parties have agreed to confirmation of the Plan as modified herein.

  14         10.      To resolve the UST’s informal objection, Section 13.6 of the Plan regarding

  15   exculpation and limitation of liability is hereby amended to read as follows:

  16           Neither the Debtor, nor any of his respective present or former employees,
               advisors, attorneys, or agents, will have or incur any liability to any holder of a
  17           Claim, or any other party in interest, or any of their respective agents, employees,
               representatives, financial advisors, attorneys, or affiliates, or any of their
  18           successors or assigns, for any post-petition act or omission in connection with,
               relating to, or arising out of the Case, efforts to obtain confirmation of the Plan,
  19           the consummation of the Plan, or the administration of the Plan or the property to
               be distributed under the Plan, whether now known or hereafter discovered, except
  20           for his gross negligence; fraud; willful, wanton, or intentional misconduct; or
               breaches of his fiduciary duties.
  21

  22   In addition, at the request of the UST, the Debtor has attached a list of creditors holding

  23   General Unsecured Claims hereto as Exhibit A.

  24         11.      The Class I Administrative Claimants are unimpaired and deemed to have

  25   accepted the Plan. Holders of Allowed Class I Claims shall be paid in full on the Effective Date

  26   of the Plan, or upon such other terms as the Debtor and the holders of such Claims agree.
  27         12.      Class II(a) – Priority Tax Claim of the Arizona Department of Revenue

  28   (“ADOR”). The Allowed Class II(a) Claim is in the total amount of $1,477.04. The interest

       {00079039 2}                           -2-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                Desc
                               Main Document    Page 2 of 22
   1   rate paid to the Allowed Class II(a) Claim shall be four percent (4.0%) per annum. The holder

   2   of the Allowed Class II(a) Claim shall receive payment of the Allowed Class II(a) Claim in full,

   3   in thirty six equal monthly payments of $43.61 beginning on the Effective Date. The ADOR

   4   also asserts a General Unsecured Claim in the amount of $4,401.49, which shall be treated and

   5   paid as an Allowed Class IV General Unsecured Claim. No prepayment penalty shall pertain to

   6   the Class II(a) Claim.

   7                  If the Debtor fails to comply with the provisions of the Plan with respect to the

   8   liability owed to the ADOR, which includes but is not limited to, the failure to make full and

   9   timely payments, such failure shall constitute a default under the Plan. If the Debtor fails to

  10   cure the default within 30 days after written notice of the default from the ADOR or its agents,

  11   the entire balance due to the ADOR shall be immediately due and owing. In the event of a

  12   default, the ADOR may enforce the entire amount of its Claim, exercise any and all rights and

  13   remedies under applicable non-bankruptcy law, which include, but are not limited to, state tax

  14   collection procedures and any other such relief as may be deemed appropriate by the

  15   Bankruptcy Court.

  16         13.      Class II(b) – Priority Tax Claim of the IRS. The following treatment resolves the

  17   IRS Objection: the Allowed Class II(b) Claim is in the total amount of $27,539.99. Allowed

  18   Class II(b) Claims shall be paid with interest at the statutory rate set forth in I.R.C. §§ 6621 and

  19   6622 that is in effect during the month the Plan is Confirmed (currently 4.0% compounded
  20   daily). The holder of the Allowed Class II(b) Claim shall receive payment of the Allowed Class

  21   II(b) Claim in full, in thirty six equal monthly payments of $813.09 beginning on the Effective

  22   Date. The IRS also asserts a General Unsecured Claim in the amount of $9,705.92, which shall

  23   be treated and paid as an Allowed Class IV General Unsecured Claim. No prepayment penalty

  24   shall pertain to the Class II(b) Claim.

  25           In the event the Debtor defaults on any payment due to the holder of the Class II(b)

  26   Claim as required under the confirmed Plan, and in the event the Debtor fails to cure said
  27   default within thirty days after written notice of the default is mailed to the Debtor and the

  28   Debtor’s attorneys, the entire imposed liability together with any unpaid current liabilities, shall

       {00079039 2}                             -3-
Case 2:14-bk-11428-GBN          Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51               Desc
                                 Main Document    Page 3 of 22
   1   become due and payable immediately. The IRS may collect unpaid liabilities that become due

   2   as a result of the default through the administrative collection provision or judicial remedies as

   3   set forth in the Internal Revenue Code. The IRS shall not be required to seek a modification

   4   from the automatic stay to collect any tax liabilities from property that has revested with the

   5   Debtor. Any unpaid priority claims, including any unpaid interest due after the bankruptcy was

   6   filed and prior to the start of the bankruptcy plan payments, plus unpaid penalties on priority

   7   taxes due after the bankruptcy filing date, that are not paid through the plan, will not be

   8   discharged

   9         14.      Class III(a) – Secured Claims of Bank of America. Class III(a) consists of the

  10   Secured Claim of BofA relating to prepetition liens against the Amelia, Laredo, and Lewis

  11   Properties. As set forth in Section 3.1 of this Disclosure Statement, during the pendency of the

  12   Case, BofA settled litigation with the United States Department of Justice, pursuant to which

  13   BofA forgave the debt related to these liens and filed releases of the liens with the Maricopa

  14   County Recorder as follows: On October 5, 2015, BofA recorded a certain Deed of Release and

  15   Reconveyance at Recording No. 20150715187, releasing its lien against the Amelia Property;

  16   on April 5, 2016, BofA recorded a certain Deed of Release and Reconveyance at Recording No.

  17   20160223568, releasing its lien against the Laredo Property; and on April 11, 2013, BofA

  18   recorded a certain Deed of Release and Reconveyance at Recording No. 20130326634.

  19           Based upon BofA forgiving the Debtor’s debt and releasing the liens in connection with
  20   the Amelia, Laredo, and Lewis Properties, any and all Claims of BofA against the Debtor are

  21   deemed satisfied and BofA no longer holds any Claims in this Case. Any and all Claims of

  22   BofA against the Debtor shall be discharged as of the Effective Date. No prepayment penalty

  23   shall pertain to this Claim.

  24         15.      Class III(b) Secured Claim of U.S. Bank Trust National Association, as Trustee

  25   of the Igloo Series III Trust (“U.S. Bank”). As of the Petition Date, Everbank was the holder of

  26   the Class III(b) Claim and filed Proof of Claim No. 4 in connection therewith. Everbank
  27   subsequently assigned its interest in Proof of Claim No. 4 to Nationstar, and Nationstar

  28   subsequently assigned its interest in Proof of Claim No. 4 to U.S. Bank. See ECF Nos. 122 and

       {00079039 2}                            -4-
Case 2:14-bk-11428-GBN         Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51              Desc
                                Main Document    Page 4 of 22
   1   289. The holder of the Allowed Class III(b) Claim shall receive treatment pursuant to the Order

   2   Regarding Plan Treatment of the First Lien Encumbering Real Property Located at 1458

   3   Laredo St. Chandler, AZ 85226. No prepayment penalty shall pertain to this Claim.

   4         16.      Class III(c) – Secured Claim of New Penn Financial, LLC d/b/a Shellpoint

   5   Mortgage Servicing (“Shellpoint”) relating to its lien on the Lewis Property pursuant to the

   6   Assignment/Transfer of Claim from Ditech at ECF No. 254.             Based upon the agreement

   7   between the Debtor and Shellpoint, as evidenced by signature of counsel below, the treatment of

   8   the Class III(c) Claim under the Plan is hereby amended as follows: On or before the date that

   9   is five months after the Effective Date, the Debtor shall reinstate the loan on the Lewis Property

  10   (“Lewis Loan”) from proceeds of the sale of the Laredo Property. Until such time as the Lewis

  11   Loan is reinstated, the Debtor shall continue making payments to Shellpoint under the Order on

  12   Stipulation Regarding Adequate Protection [ECF No. 287] (“Lewis Stipulation”) in the amount

  13   of $1,703.50, and all other terms of the Lewis Stipulation shall remain in full force and effect,

  14   including, but not limited to, default provisions. Upon reinstatement of the Lewis Loan, all

  15   rights and obligations of the Debtor and the holder of the Class III(c) Claim will revert to those

  16   under the pre-petition Lewis Loan documents, which will replace all rights and obligations

  17   under the Lewis Stipulation in full. No deficiency Claim exists with regard to the Class III(c)

  18   Claim and no prepayment penalty shall pertain to this Claim.

  19         17.      Class III(d) – Secured Claim of Ditech relating to its lien on the Minton Property.
  20   The holder of the Allowed Class III(d) Claim shall receive treatment as set forth in the

  21   Stipulation Regarding Plan Treatment and to Valuate the First Lien Encumbering Real

  22   Property Located at 680 West Minton Drive Tempe, AZ 85282 attached hereto as Exhibit B

  23   (“Minton Stipulation”), and the terms of which are incorporated herein in their entirety. No

  24   prepayment penalty shall pertain to this Claim.

  25         18.      Class III(e) – Secured Claim of Polec Creditors. The holder of the Allowed

  26   Class III(e) Claim shall receive payment of the Allowed Class III(e) Claim in full with three
  27   percent (3%) interest per annum, in sixty (60) equal monthly payments of principal and interest

  28   in the amount of $71.45. Upon completion of payments to Polec, the Debtor may seek an Order

       {00079039 2}                           -5-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                Desc
                               Main Document    Page 5 of 22
   1   from the Court avoiding the lien created by the Polec Judgment, which the Debtor may

   2   thereafter file with the Maricopa County Recorder to avoid the Polec Judgment. Any fees

   3   required to reopen this Case to obtain such an Order avoiding the lien will be waived. No

   4   prepayment penalty shall pertain to the Class III(e) Claim.

   5         19.      Class III(f) – Secured Claim of Van Curen/King Creditors. The holder of the

   6   Allowed Class III(f) Claim shall receive payment of the Allowed Class III(f) Claim in full with

   7   three percent (3%) interest per annum, in sixty (60) equal monthly payments of principal and

   8   interest in the amount of $59.96. Upon completion of payments to Van Curen and King (who

   9   shall collectively be entitled to one Claim), the Debtor may seek an Order from the Court

  10   avoiding the lien created by the Van Curen/King Judgment, which the Debtor may thereafter

  11   file with the Maricopa County Recorder to avoid the Van Curen/King Judgment. Any fees

  12   required to reopen this Case to obtain such an Order avoiding the lien will be waived. No

  13   prepayment penalty shall pertain to the Class III(f) Claim.

  14         20.      Class IV – Holders of Allowed Class IV Claims shall be paid in full over five

  15   years. The Debtor shall make the payments to the holders of Allowed Class IV Claims on the

  16   first Business Day that occurs 11 months after the Effective Date (“Initial Payment Date”) and

  17   every year thereafter for four years. Interest shall accrue on Class IV Claims at the rate of three

  18   percent (3%) per annum. If a Class IV Claim is not an Allowed Claim prior to 30 days after the

  19   Effective Date, such Class IV Claim holder shall receive payment on the one year payment date
  20   that falls after its Class IV Claim becomes an Allowed Claim.

  21         21.      The Plan complies with the applicable provisions of the Bankruptcy Code.

  22   Accordingly, the Plan complies with the requirements of 11 U.S.C. §§ 1129(a)(1) and (2).

  23         22.      The Plan has been proposed in good faith and not by any means forbidden by

  24   law. Accordingly, the Plan complies with the requirements of 11 U.S.C. § 1129(a)(3).

  25         23.      Any payments made by the Debtor for services or for costs and expenses in or in

  26   connection with the case, or in connection with the Plan and incident to the case, have been
  27   approved by, or are subject to the approval of, the Court as reasonable. Accordingly, the Plan

  28   complies with the requirements of 11 U.S.C. § 1129(a)(4).

       {00079039 2}                           -6-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                Desc
                               Main Document    Page 6 of 22
   1         24.      The Debtor is an individual. Accordingly, 11 U.S.C. §§ 1129(a)(5)(A) and (B)

   2   are not applicable.

   3         25.      The Plan does not require any rate change for which approval from a government

   4   regulatory commission is necessary. Accordingly, the Plan complies with the requirements of

   5   11 U.S.C. § 1129(a)(6).

   6         26.      As set forth in the Ballot Report and the record presented at the Confirmation

   7   Hearing, one impaired class voted to accept the Plan. Moreover, the Plan provides that each

   8   creditor will receive or retain property of a value, as of the Effective Date of the Plan, that is not

   9   less than the amount that each creditor would receive in a Chapter 7 liquidation. The Plan

  10   provides for secured creditors to retain their liens on the property securing their claims or for the

  11   return of the secured creditor’s collateral. The Plan further provides for unsecured creditors to

  12   be paid in full, with interest. Accordingly, the Plan complies with the requirements of 11

  13   U.S.C. §§ 1129(a)(7)(A)(i) and (ii).

  14         27.      No secured creditor has elected to be treated as a fully secured creditor pursuant

  15   to 11 U.S.C. § 1111(b). Accordingly, 11 U.S.C. § 1129(a)(7)(B) is not applicable in this case.

  16         28.      No classes voted to reject the Plan; however, because not all impaired classes

  17   submitted ballots, 11 U.S.C. § 1129(a)(8) has not been met. Of the impaired classes that did not

  18   submit a ballot Class III(a) no longer holds any claim in the case; Secured Classes III(e) and (f)

  19   will retain their liens and be paid the full value of their claims, with interest; Class IV General
  20   Unsecured Creditors will be paid the full value of their claims, with interest; and the holders of

  21   the Class III(c) and (d) Claims have accepted the Plan pursuant to signatures of counsel below.

  22   Based upon the foregoing, the Plan does not discriminate unfairly and is fair and equitable with

  23   respect to the Classes of Claims that did not submit ballots. Accordingly, the Plan complies

  24   with the requirements of 11 U.S.C. § 1129(b)(1) and (2).

  25         29.      Except to the extent that the holder of a particular claim has agreed to a different

  26   treatment of such claim, the Plan provides that with respect to a claim of the kind specified in
  27   § 507(a)(2) of the Bankruptcy Code, the holder of such claim will receive on account of such

  28   claim on the Effective Date of the Plan, cash equal to the amount of such claim. The Debtor has

       {00079039 2}                           -7-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                   Desc
                               Main Document    Page 7 of 22
   1   no claims specified in 11 U.S.C. § 507(a)(3).        Accordingly, the Plan complies with the

   2   requirements of 11 U.S.C. § 1129(a)(9)(A).

   3           30.    The Debtor has no claims of the kind specified in 11 U.S.C. §§ 507(a)(4), (5),

   4   (6), or (7). Accordingly, the Plan complies with 11 U.S.C. § 1129(a)(9)(B).

   5           31.    With respect to a claim of a kind specified in 11 U.S.C. § 507(a)(8), to the extent

   6   that such claim exists, the holder of such claim will receive on account of such claim regular

   7   installment cash payments, over a period not exceeding five years after the order for relief, of a

   8   total value, as of the effective date of the Plan, equal to the allowed amount of such claim,

   9   unless otherwise agreed. Accordingly, the Plan complies with the requirements of 11 U.S.C.

  10   § 1129(a)(9)(C).

  11           32.    The Debtor has no claims of the kind specified in 11 U.S.C. § 1129(a)(9)(D).

  12   Accordingly, 11 U.S.C. § 1129(a)(9)(D) is not applicable in this case.

  13           33.    At least one class of creditors that is impaired under the Plan has accepted the

  14   Plan determined without including any acceptance of the Plan by any insider. Accordingly, the

  15   Plan complies with the requirements of 11 U.S.C. § 1129(a)(10).

  16           34.    Confirmation of the Plan is not likely to be followed by the liquidation or the

  17   need for further financial reorganization by the Debtor. Accordingly, the Plan complies with

  18   the requirements of 11 U.S.C. § 1129(a)(11).

  19           35.    The Plan provides for the payment of all bankruptcy fees payable under 28
  20   U.S.C. § 1930 on the Effective Date of the Plan. Accordingly, the Plan complies with the

  21   requirements of 11 U.S.C. § 1129(a)(12).

  22           36.    The Debtor does not provide and have not provided retiree benefits as that term

  23   is defined in 11 U.S.C. § 1114. Accordingly, 11 U.S.C. § 1129(a)(13) is not applicable in this

  24   case.

  25           37.    The Debtor is not required to pay any domestic support obligations.

  26   Accordingly, 11 U.S.C. § 1129(a)(14) is not applicable in this case.
  27           38.    Because all objection to the Plan are resolved herein and no other holder of an

  28   allowed unsecured claim has objected to confirmation of the Plan, 11 U.S.C. § 1129(a)(15) is

       {00079039 2}                           -8-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                Desc
                               Main Document    Page 8 of 22
   1   not applicable in this case, though the Plan otherwise complies with the requirements of 11

   2   U.S.C. § 1129(a)(15).

   3         39.      All transfers of property under the Plan shall be made in accordance with any

   4   applicable provisions of non-bankruptcy law that govern the transfer of property by a

   5   corporation that is not a moneyed, business or commercial corporation. Accordingly, the Plan

   6   complies with the requirements of 11 U.S.C. § 1129(a)(16).

   7           Based upon the foregoing, and good cause appearing:

   8           IT IS ORDERED, confirming the Plan as modified herein;

   9           IT IS FURTHER ORDERED, approving the Minton Stipulation in its entirety;

  10           IT IS FURTHER ORDERED, in accordance with the Plan that on the Effective Date,

  11   all rights, claims, title, and interest in and to the Debtor’s assets or the Estate’s assets shall be

  12   re-vested in the Debtor;

  13           IT IS FURTHER ORDERED, that except as otherwise expressly provided in the Plan,

  14   and as modified herein, all holders of claims against the Debtor shall be precluded from

  15   asserting against the Debtor, his Estate, or the assets or properties of the Debtor or the Estate,

  16   any other or further claim based upon any omission, transaction or other activity of any kind or

  17   nature that occurred prior to the Effective Date; and

  18           IT IS FURTHER ORDERED, that notwithstanding the entry of this Order or the

  19   occurrence of the Effective Date, this Court shall retain jurisdiction over all disputes and
  20   matters arising out of, and related to, the Plan and this Confirmation Order to the fullest extent

  21   permitted by law, including, without limitation, any amendments contained herein.

  22                                    DATED AND SIGNED ABOVE

  23   APPROVED AS TO FORM AND CONTENT:

  24   ALLEN BARNES & JONES, PLC                        UNITED STATES OF AMERICA (IRS)

  25
       /s/ KT #32446                                    /s/ Peter M. Lantka (with permission)
  26   Thomas H. Allen                                  Peter M. Lantka
       Khaled Tarazi                                    Two Renaissance Square
  27   1850 North Central Ave., Ste. 1150               40 North Central Avenue, Ste. 1800
       Phoenix, AZ 85004                                Phoenix, AZ 85004
  28   Attorneys for the Debtor                         Attorney for the United States of America - IRS

       {00079039 2}                            -9-
Case 2:14-bk-11428-GBN         Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51                 Desc
                                Main Document    Page 9 of 22
   1   TIFFANY & BOSCO, P.A.                          UNITED STATES TRUSTEE

   2
       /s/ Leonard J. McDonald (with permission)      /s/
   3   Leonard J. McDonald                            Patty Chan
       2525 E. Camelback Rd.                          230 N. First Ave., #204
   4   Phoenix, AZ 85016                              Phoenix, AZ 85003
       Attorneys for Ditech Financial, LLC            Attorneys for U.S. Trustee
   5   and Shellpoint Mortgage Servicing              (approved as to Form only)

   6   THE LAW OFFICES OF
       MICHELLE GHIDOTTI
   7

   8   /s/ Kristin A. Zilberstein (with permission)
       Michelle Ghidotti-Gonsalves
   9   Kristin A. Zilberstein
       5120 E. La Palma Ave. Ste. 206
  10   Anaheim Hills, CA 92807-4219
       Attorneys for U.S. Bank Trust National
  11   Association

  12

  13

  14

  15

  16

  17

  18

  19
  20

  21

  22

  23

  24

  25

  26
  27

  28

       {00079039 2}                          -10-
Case 2:14-bk-11428-GBN        Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51     Desc
                              Main Document    Page 10 of 22
Case 2:14-bk-11428-GBN   Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51   Desc
                         Main Document    Page 11 of 22
                     Exhibit “A”

Case 2:14-bk-11428-GBN   Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51   Desc
                         Main Document    Page 12 of 22
                                    Jessie Paul Ogle
                         CLASS IV GENERAL UNSECURED CLAIMS*
TOTAL :                                                                            $18,664.04


                                                                        Proof of Claim or
              Creditor                    Source Document
                                                                       Scheduled Amount
Arizona Department of Revenue
1600 West Monroe Street
                                        Proof of Claim No. 1-3     $                 4,401.48
Phoenix, AZ 85007

Internal Revenue Service
Centralized Insolvency
Operations
P.O. Box 7346                           Proof of Claim No. 2-2     $                 9,705.92
Philadelphia, PA 19101-7346

Phoenix Children's Hospital                   Schedules            $                 3,738.07
Sprint
                                              Schedules            $                  811.57
c/o Allied Interstate, LLC
Capital One                                   Schedules            $                     7.00


TOTAL:                                                               $              18,664.04
*All listed claims are subject to objection in accordance with the Bankruptcy Code and the Plan




  Case 2:14-bk-11428-GBN
{00077749 2}                  Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51         Desc
                              Main Document    Page 13 of 22
                         Exhibit “B”

Case 2:14-bk-11428-GBN   Doc 328 Filed 03/06/18 Entered 03/07/18 09:33:51   Desc
                         Main Document    Page 14 of 22
 1
     SEV EN TH FLOOR CAM ELBAC K ESPLANAD E II
 2   2525 E. CAM ELBAC K R OAD
     PHOENIX , AR I ZONA 85016
 3
     TELEPHON E: (602) 255-6000
 4   FA CSIM ILE: (602 ) 255-0192
     Mark S. Bosco
 5   State Bar No. 010167
     Leonard J. McDonald
 6   State Bar No. 014228
     ljm@tblaw.com
 7   Attorneys for Ditech Financial LLC
 8   16-05063
 9                         IN THE UNITED STATES BANKRUPTCY COURT

10                                 FOR THE DISTRICT OF ARIZONA

11
     IN RE:                                                           No. 2:14-bk-11428-GBN
12
     Jessie Paul Ogle                                                        Chapter 11
13

14                Debtor.
     _________________________________________                  STIPULATION REGARDING
15   Ditech Financial LLC                                  PLAN TREATMENT AND TO VALUATE
                                                           THE FIRST LIEN ENCUMBERING REAL
16                                                               PROPERTY LOCATED AT
                    Secured Creditor,                            680 WEST MINTON DRIVE
              vs.                                                    TEMPE, AZ 85282
17

18   Jessie Paul Ogle, Debtor.

19                  Respondents.

20
              IT IS HEREBY STIPULATED by and between Ditech Financial LLC (“Secured Creditor”)
21

22
     and Jessie Paul Ogle (“Debtor”), through counsel undersigned, that the property generally described

23   as 680 West Minton Drive, Tempe, AZ 85282 and legally described as:

24

25

26




     Case 2:14-bk-11428-GBN                       1
                                    Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51              Desc
                                    Main Document    Page 15 of 22
              LOT 72, CASA FIESTA, ACCORDING TO BOOK 435 OF MAPS, PAGE 25 AND
 1
              AFFIDAVIT RECORDED JUNE 26, 1997 IN DOCUMENT NO. XX-XXXXXXX,
 2
              RECORDS OF MARICOPA COUNTY, ARIZONA

 3   (“Subject Property”), shall be treated as follows:

 4            Commencing February 1, 2017, the Debtor will make payments on $317,767.70, which is the
 5   full payoff amount good through January 27, 2018. The interest rate is to be fixed at 5.0% with
 6
     payments to be comprised of principle, interest and escrow. The loan will be re-amortized over 30
 7
     years.
 8
              There is currently post-petition escrow advances owed on the loan in the amount of
 9
     $17,924.26 through January 1, 2018. Debtor has agreed to cure the $17,924.26 over 24 months
10

11   beginning February 15, 2018. Payments one through twenty-three (1-23) in the amount of $746.84

12   shall be in addition to the regular monthly payments. The 24th final payment in the amount of

13   $746.94 shall be in addition to the regular monthly payment. In the event that Secured Creditor must
14   advance additional escrow, the Debtors agree to repay any escrow advance in addition to the above.
15
              All other terms and conditions of the original Note and Mortgage, including the default
16
     provisions, shall remain in full force and effect.
17
              If the Debtor fails to tender the payments as required under this Stipulation prior to
18
     confirmation of the plan, then Secured Creditor shall provide written notice to Debtor at #305301,
19

20   ASPC Florence – South Unit, PO Box 8400, Florence, AZ 85132 or such other address subsequently

21   provided by Debtor, to the Secured Creditor’s counsel at the undersigned address, and if the default

22   occurs while the above-captioned bankruptcy proceeding remains active, to the Debtor’s counsel at
23
     1850 N. Central Avenue, #1150 Phoenix, AZ 85004, indicating the nature of the default. If the
24
     Debtor fails to cure the default with certified funds after the passage of thirty (30) calendar days from
25

26




     Case 2:14-bk-11428-GBN                          2
                                       Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51                Desc
                                       Main Document    Page 16 of 22
     the date said written notice is received by the Debtor and Debtor’s counsel if applicable, then Secured
 1

 2
     Creditor shall have immediate relief from the Automatic Stay of §362 of the Bankruptcy Code.

 3          Upon confirmation of the plan, the automatic stay shall be immediately terminated and

 4   extinguished for all purposes as to Secured Creditor. If default occurs after the plan is confirmed,
 5   Secured Creditor may proceed with and hold a Trustee’s Sale of the Property, pursuant to applicable
 6
     state law, and without further Court Order of proceeding being necessary, commence any action
 7
     necessary to obtain complete possession of the subject property, including unlawful detainer, if
 8
     required.
 9
            This Stipulation shall be deemed null and void should the Debtor fail to confirm the
10

11   Chapter 11 Plan within six months from the filing date of this Stipulation. Secured Creditor shall be

12   entitled to file a Notice and lodge an Order of the Rescission of the Stipulation should the Debtor fail

13   to confirm the Plan within six months of the filing date of the Stipulation. The decision to rescind the
14   Stipulation rests solely with the Secured Creditor and the Stipulation will remain in effect until the
15
     Secured Creditor files the Notice of Rescission. In the event the Secured Creditor elects to file its
16
     Notice of Rescission, the original loan terms will remain in effect and the parties may either negotiate
17
     or litigate the Secured Creditors treatment under the Plan.
18
            This Stipulation shall be subject to Bankruptcy Court approval.
19

20          This Stipulation shall be incorporated into Debtor’s confirmed Chapter 11 Plan, and may not

21   be altered in any way by subsequently amended and/or filed Amended Chapter 11 Plan or Amended

22   Disclosure Statement, if any. Any inconsistencies between the treatment of Secured Creditor’s
23
     claims under the Plan or Order Confirming Plan and this Stipulation shall be resolved in favor of this
24

25

26




     Case 2:14-bk-11428-GBN                         3
                                      Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51                Desc
                                      Main Document    Page 17 of 22
     Stipulation. Secured Creditor’s agreement herein shall also constitute its acceptance of the Plan on
 1

 2
     account of its claims.

 3          The agreements contained in this Stipulation shall be binding for purposes of the treatment of

 4   the Subject Property in Debtor confirmed Chapter 11 Plan, unless otherwise stipulated to in writing.
 5          In the event this case is converted to a Chapter 7, Chapter 13 or dismissed, this Stipulation
 6
     shall be deemed void and unenforceable.
 7
     SO STIPULATED:
 8
     Dated:____________                                   BY:_______________________
 9                                                            Leonard McDonald, Esq
                                                              Mark S. Bosco
10
                                                              Attorneys for Secured Creditor
11
     Dated:_____________                                  BY:_________________________
12                                                              Khaled Tarazi, Esq.
                                                                Thomas H. Allen, Esq.
13                                                              Attorneys for Debtor
14

15

16

17

18

19

20

21

22

23

24

25

26




     Case 2:14-bk-11428-GBN                        4
                                     Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51                Desc
                                     Main Document    Page 18 of 22
 1
     SEV EN TH FLOOR CAM ELBAC K ESPLANAD E II
 2   2525 E. CAM ELBAC K R OAD
     PHOENIX , AR I ZONA 85016
 3
     TELEPHON E: (602) 255-6000
 4   FA CSIM ILE: (602 ) 255-0192

 5
     Mark S. Bosco
     State Bar No. 010167
 6
     Leonard J. McDonald
     State Bar No. 014228
 7

 8
     Attorneys for Secured Creditor

 9
     16-05063
                            IN THE UNITED STATES BANKRUPTCY COURT
10
                                   FOR THE DISTRICT OF ARIZONA
11

12
     IN RE:                                                      No. 2:14-bk-11428-GBN
13
     Jessie Paul Ogle                                            Chapter 11
14
                                                                 NOTICE OF BAR DATE RE:
                  Debtor.                                        STIPULATION REGARDING PLAN
15   _________________________________________                   TREATMENT AND TO VALUATE THE
     Ditech Financial LLC                                        FIRST LIEN ENCUMBERING REAL
16
                                                                 PROPERTY
17                  Secured Creditor,
              vs.
18
     Jessie Paul Ogle, Debtor.
19
                    Respondents.
20

21

22            NOTICE IS HEREBY GIVEN that Ditech Financial LLC, its agent, by and through its
23   undersigned attorneys, has entered into a Stipulation for Claims Treatment (the “Stipulation”) with
24   Jessie Paul Ogle, (the “Debtor”) with regard to the real property located at 680 West Minton Drive,
25

26




     Case 2:14-bk-11428-GBN                         5
                                      Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51             Desc
                                      Main Document    Page 19 of 22
 1   Tempe, AZ 85282. See the Stipulation attached hereto as Exhibit “A” for the complete terms of the

 2   agreement.

 3          NOTICE IS FURTHER GIVEN that pursuant to Local Bankruptcy Rules 2002-1 and

 4   9013-1, if no written objection is filed with the court and a copy thereof served upon Tiffany &

 5   Bosco, P.C., 2525 E. Camelback Rd. Seventh Floor, Phoenix, Arizona 85016 WITHIN TWENTY-

 6   ONE (21) days of service of this Notice, the Stipulation may be granted without a hearing. If a party

 7   in interest timely objects to the Stipulation and requests a hearing, the matter will be placed on the

 8   Court’s calendar. Only those objecting and parties in interest will receive notice of the hearing.

 9          NOTICE IF FURTHER GIVEN that the Stipulation and supporting papers are available

10   for review at the Clerk’s office, U.S. Bankruptcy Court, 230 N. First Avenue, Phoenix, Arizona

11   85003-1706 and a copy may be inspected by any party in interest by accessing the United States

12   Bankruptcy Court for the District of Arizona Document Filing System at http://ecf.azb.uscourts.gov

13   or a copy may be obtained from Tiffany & Bosco, PA at the address appearing upon this pleading.

14          DATED this 4th day of January, 2018.

15                                                         Respectfully submitted,

16                                                         TIFFANY & BOSCO, P.A.

17
                                                           BY /s/ LJM #014228
18                                                              Mark S. Bosco
                                                                Leonard J. McDonald
19
                                                                Attorneys for Secured Creditor
20

21

22

23

24

25

26




     Case 2:14-bk-11428-GBN                         6
                                      Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51                Desc
                                      Main Document    Page 20 of 22
 1   Copy of the foregoing was
     mailed January 4, 2018.
 2

 3   Jessie Paul Ogle
     #305301
 4   ASPC Florence - South Unit
     PO Box 8400
 5   Florence, Az 85132
     Debtor
 6

 7
     Thomas H. Allen
     1850 N. Central Avenue, #1150
 8   Phoenix, AZ 85004
     Attorney for Debtor
 9
     Americas Servicing Co
10   PO Box 10328
     Des Moines, IA 50306
11

12   Arizona Department of Revenue
     1600 Monroe
13   7th Floor
     Phoenix, AZ 85007
14
     Bank of America
15
     P.O. Box 5170
16   Simi Valley, CA 93062

17   Bank Of America
     4161 Piedmont Pkwy
18   Greensboro, NC 27410
19   BMO Harris Bank
     770 N Water St
20
     Milwaukee, WI 53202
21
     Capital One
22   PO Box 85520
     Richmond, VA 23285
23
     Chase
24
     PO Box 24696
25   Columbus, OH 43224

26




     Case 2:14-bk-11428-GBN                        7
                                     Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51   Desc
                                     Main Document    Page 21 of 22
 1
     Citimortgage
 2
     PO Box 6243
     Sioux Falls, SD 57117
 3
     Internal Revenue Service
 4   P.O. Box 7346
     Philadelphia, PA 19101
 5
     National Credit System
 6
     3750 Naturally Fresh Blvd
 7   Atlanta, GA 30349

 8   Ocwen Loan
     1661 Worthington R Ste 100
 9   West Palm Beac, FL 33409
10
     Polec Holdings, LLC
11   c/o Harper Law PLC
     2350 E. Germann Rd Ste 38
12   Chandler, AZ 85286

13   William Van Curen
     c/o Snell & Wilmer, LLP
14   400 E. Van Buren Street
15
     Phoenix, AZ 85004

16   By: Julie Bush

17

18

19

20

21

22

23

24

25

26




     Case 2:14-bk-11428-GBN                     8
                                  Doc 328 Filed 03/06/18  Entered 03/07/18 09:33:51   Desc
                                  Main Document    Page 22 of 22
